Case: 4:19-cr-00961-SRC Doc. #: 557 Filed: 07/14/21 Page: 1 of 12 PageID #: 1486




                                L]NITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOIIRI
                                       EASTERN DIVISION

  UNITED STATES OF AMERICA,                              )
                                                         )
      Plaintiff,                                         )
                                                         )
                                                         )   No. 4:i9 CR 961 SRC
                                                         )
  TYRONE SIMS,                                           )
                                                         )
      Defendant.                                         )

                                        GUILTY PLEA AGREEMENT


           Come now the parties and hereby agree, as follows:

           1. PARTIES:

           The parties are the defendant Ty'one Sims, represented by defense counsel Matthew

 Radefeld, and the United States of America (hereinafter "United States" or "Government"),

 represented by the Offrce of the United States Attomey for the Eastem District of Missouri. This

 agreement does not, and is not intended to, bind any governmental office or agency other than

 the United States Attomey for the Eastem District of Missouri. The Court is neither a party to

 nor bound by this agreement.

           2. GUILTYPLEA:

           A.      The Guilo" Plea:       Pursuant to Rule   ll(c)(l)(A),   Federa.l Rules   of Criminal

 Procedure, in exchange for   tle   defendant's voluntary plea of guilty to the lesser included offense

 in Count One ofthe indictmen! the United States agrees that no fur1her federal prosecution will

 be brought in this Dislrict relative to the defendant's conspiracy to possess, diskibute and/or

 possess   with the intent to distribute fentanyl of which the Govemment is aware of at this time.

                                                     I
Case: 4:19-cr-00961-SRC Doc. #: 557 Filed: 07/14/21 Page: 2 of 12 PageID #: 1487




       B.       The   Sentence: In addition,       the parties agree that the U.S. Sentencing Guidelines

 Total Offense Level analysis agreed to by the pades herein is the result ofnegotiation and led, in

 part, to ttre guilty p1ea, The parties jointly agree to recommend a sentence of 75 months which

 represents a vmiance from     the U.S. Sentencing Guidelines range (combination ofTotal Offense

 Level and Criminal History Category) anticipated by the parties. The sentencing

 recommendation has been deterrnined after the parties' review ofthe applicable Guidelines and

 the sentencing factors set out in     Title   18, United States Code, Section 3553(a). The parties

 understand that the Court is neither party to nor bound by the sortencing recommendations

 agreed to in this document.


       C. &dd!UIg.:                  Defendant agrees to forfeit all of defendant's interest in all items

 seized by law-enforcement officials during the course of thefu investigation and         will not contest

 the forfeiture of such items. Defendant admits that all United States currency, weapons, property

 and assets seized by 1aw enforcement officials during their investigation constitute the proceeds

 of defendant's illegal activity, were commingled with illegal proceeds, or were used to facilitate

 the illegal   activity. Defendant   agrees to execute any documents and take all steps needed to

 transfer title or ownership of said iterns to the Govemment and to rebut any claims of nominees

 and/or aileged third party owners. Defendant further agrees that said items may be disposed           of

 by law enforcement officials in any manner.

       3. ELEMENTS:

                 As to Count One, the Defendant admits to knowingly violating Title 21, United

 States Code, Sections 841(a)(1)       &   846 and admits there is a factual basis for the plea and further

 fully understands that the elements of the crime       are:


                                                        2
Case: 4:19-cr-00961-SRC Doc. #: 557 Filed: 07/14/21 Page: 3 of 12 PageID #: 1488




         1.      That between January 2018 and the date of the indictrnent (November 20,2019),

         the defendant entered into an agreement or understanding to possess with the intent

         distribute a mixtwe or substance containing a detectable amount of fentanyl, a Schedule

         II controlled   substance;

         2.       The defendant voluntarily and intentionally joined in the agreement or

         understanding to possess with the intent distribute the fentanyl, either at the time it was

         first reached or at some later time while it was still in effect; and


         3.       At the time the defendant joined in the agreernent or understanding, he knew of

         the purpose   ofthe agreement or understanding.


         4. FACTS:

        The parties agree that the facts in this case are as follows and that the govemment would

  prove these facts treyond a reasonable doubt   if   the case were to go to   hial.   These facts may be

  considered as relevant conduct pursuant to Section 1B 1.3:

                                           The Conspiracv

       Beginning in 2018 and continuing up until the time ofthe indictment, Defendant Tyrone

 Sims, along with his co-conspirators began distributing large quantities of fentanyl in the St.

 Louis Metropolitan area. Their source of supply was initially Juan Gonzalez (herea{ter

 "Gonzalez") who was eventually indicted in the Eastem District of Missouri in Cause Number

 4:l9CR21l RLW, for conspiracy to distribute and possess with intent to dishibute both fentanyl

 and methamphetamine. Gonzalez continued to supply the Defendant and his co-conspirators until

 Gonzalez was arrested by the DEA and U.S. Marshals in September, 2019. Defendant and his




                                                      3
Case: 4:19-cr-00961-SRC Doc. #: 557 Filed: 07/14/21 Page: 4 of 12 PageID #: 1489




 co-conspiratorc then obtained another source of supply in Arimna and continued to distribute

 fentanyl.

         Prior to his arrest, Gonzalez would either ship packages of fentanyl through the mail ot

 would hand-deliver the narcotics to ceconspirators like Jaznynn Lester and Aaliah Lester, who

 had traveled to Arizona at the request of co-conspirator Maricus Futrell (hereafter "Futrell") and

 others. Futrell was also under indictment in the Eastern District of Missouri, charged in the same

 case as Gonzalez.   While Gonzalez and Futrell were fugitives in that indictment, they continued

 to conspire with Defendant and others to distribute fentanyl in the Eastem District of Missouri.

         Once the raw fentanyl was either mailed or transported to the St. l,ouis area, various co-

 conspirators would "cut" or "stretch" the fentanyl with various products like Dormin, in order to

 increase its volume and thereby increase their profit. The cut fentanyl was then put in capsules

 and sold by r.arious members    ofthe conspiracy which included the defendant Sims, Anthony

 Caldwell, Roman Frenchie, Kevin White, Martes Mosley, Michael Moore, and Maricus Futrell.

         Jaznynn Lester and Aaliah Lester were "mules" in thal they traveled to Arizona to meet

 witl   the source of supply in order to pay U.S. currency for the fentanyl and then transport the

 fentanyl back to St. Louis for distribution. They were compensated for their role as mules.

 Jazrnynn Lester also provided her mother's residence as an address where fentanyl could be

 received from Arizona. Jazmynn Lester was a paramour of co-conspirator Kevin White.

         Jimmiesha Williarns (hereafter "Williams") would provide a safe house for co-conspirators

 to conduct their business and would knowingly store narcotics, fuearms and U.S. currency in her

 residence- She would also register vehicles in her name in order to shield other co-conspirators,

 especially her paramour Maricus Futrell from potential law enforcement scrutiny. Williams


                                                   4
Case: 4:19-cr-00961-SRC Doc. #: 557 Filed: 07/14/21 Page: 5 of 12 PageID #: 1490




 would also take various vehicles used by co-conspirators to body shops to get them painted,

 again in an effort to thwart law enforcement scrutiny.

       Deniesha Baker (hereafter "Baker") provided a "safe house" or "stash house" for her

 paramour Futrell, where he would store narcotics and U.S. currency (proceeds ofhis drug

 trafficking) and she maintained her premises for the purpose of distributing fentanyl. Futrell and

 other members   ofthe conspiracy would keep       a   "lab" at Baker's house, which was comprised of

 drug paraphernalia used to cut the fsntanyl and package it for distribution    -   grinders, pill presses,

 scales, empty capsules, Dormin, etc. Baker would also allow Futrell to keep his vehicles at her

 residence, again in an effort to thwart law enforcement scrutiny.

       In total, the conspiracy was responsible for distributing in excess of4 kilograms of

 fentanyl. The parties agree that the amount of fentanyl for which defendant Sims is responsible

 for, including relevant conduct, is at least 40 grams but less than 160 grams of fortanyl.

                             5. STATUTORY PENALTIES:

        The defendant fully understands that the maximum possible penalty provided by law for

 the crime to which the defendant is pleading guilty is imprisonment      ofnot more than 20 years,     a

 fine of not more than   $   1,000,000, or both such imprisonment and fine. The Court shall also

 impose a period of superrised release ofnot less than 3 years.

        6. U.S. SENTENCINGGUIDELINES: 2018 MANUAL:

       The defendant understands that this offense is affected by the U.S. Sentencing Guidelines

 and the actual sentencing range is determined by both the Total Offense Level and the Criminal

 History Category. The parties agree that he following are the U.S. Sentencing Guidelines Total

 Offense Level provisions that apply.


                                                       5
Case: 4:19-cr-00961-SRC Doc. #: 557 Filed: 07/14/21 Page: 6 of 12 PageID #: 1491




          A,        Chapter 2 Offense Conduct:

                    (1)   Base Offense   Level: The parties agree that the base offense level is 24, as

  found in Section    2Dl.l(c)(3). The parties       agree that the quantity of fentanyl for which the

  defendaat is accountable, including relevant conduct, is more than 40 grams and less than 160

  grams, resulting in the agreed Base Offense Level.

          (2) Specific Offense Characteristics: The parties agree that            2 lcvels arc added pursuant

  to Section 2D1.1(b)(1) as a firearm was possessed.

          B.        Chspter 3 Adiustments:

                    (r, Accpctance of Responsibilitl':         The parties agree that tkee levels should be

  deducted pursuant to Section 3E     1.   I   (a) and (b), because the defendant has clearly demonstrated

  acceptance ofresponsibility and timely notified the government            ofthe defendant's intention to

 plead   guilty.   The parties agree that the defendant's      eligibility for this deduction is based upon

 information presently known. If subsequent to the taking ofthe guilty plea the govemment

 receives new evidence of statements or conduct by the defendant which it believes are

 inconsistent with defendant's eligibility for this deduction, the govemment may present said

 evidence to the court, and argue that the defendant should not receive all or part ofthe deduction

 pursuaot to Section 3E1 .1, without violating the plea agreernent.


                    (2) Estimated Total Offense         Level: The parties estioate that the Total Offense

 Level is 23.

          C.        Criminal Histon: The detemination of the defendant's Criminal History

 Category shall be lefl to the Coud. Either party may challenge, before and at sentencing, the

 finding of the Presentence Report       as to ttre defendant's   criminal history and the applicable


                                                           6
Case: 4:19-cr-00961-SRC Doc. #: 557 Filed: 07/14/21 Page: 7 of 12 PageID #: 1492




  category. The defendant's criminal history is known to the defendant and is substantially

 available in the Pretrial Sewices Report.

         D.      Effect of Parties' (Ll$ SentencUlg Guidethes Analvsis: The parties agree that

 the Court is not bound by the Cuidelines analysis agreed to herein. The parties may not have

 foreseen all applicable Guidelines. The Court may, in its discretion, apply or not apply any

 Guideline despite the agreement herein and the parties shall not be permitted to withdraw from

 the plea agreement.

         7. WAIVER OF APPEAL A}ID POST-CONVICTION RIGtrTS:

         A.      Aopeal: The defendant      has been    fully apprised by defense counsel oftlre

 defendant's rights conceming appeal and fully understands the right to appeal the sentence under

 Title 18, United States Code, Section 3742.

                 (1) Non-Sentencinp Issues: The parties waive all rights to appeal all non

 jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial

 motions, discovery and the guilty plea, the constitutionality of the statute(s) to which defendant

 is pleading guilty and whether defendant's conduct falls within the scope ofthe statute(s).

                 (21   Sentencinc lssues: In the event the Court a cccpts thc plca, accepts the U.S.

 Sentencing Guidelines Total Offense Level agreed to herein, and, after determining a Sentencing

 Guidelines range, sentences the defendant within or below that range, then, as part of this

 agreement, the defendant hereby waives all rights to appeal all sentencing issues other than

 Criminal History, but only if it affects the Base Offense Level or Criminal History Category.

 Similarly, the Govemment hereby waives all rights to appeal all sentencing issues other than




                                                    7
Case: 4:19-cr-00961-SRC Doc. #: 557 Filed: 07/14/21 Page: 8 of 12 PageID #: 1493




  Criminal History, provided the Coud accepts the plea, the agreed Total Offense Level and

  senteaces the defendant withrn or above that range.

                 B.           Habeas Co4Bus: The defendant agrees to waive all rights to contest the

  conviction or sentence in any post-conviction proceeding, including one pursuant to Title 28,

  United States Code, Section 2255, except for claims ofprosecutodal misconduct or ineffective

  assistance of counsel   -



                 C.           Riqht to Records: The defendant waives all rights, whether asserted

  directly or by a representative, to requost from any department or agency ofthe United States

  any records pertaining to the investigation or prosecution of this case, including any records that

  may be sought under the Freedom of Information Act, Title 5, United States Code, Section 522,

  or the Privacy Act, Title 5, United States Code, Section 552(a).

         8. OTEER:

                 A.           Disclosures Required bv the United States Probation Officc: The

  defendant agrees to truthfirlly complete and sign forms as required by the United States

 Probation Office prior to sentencing and consents to the release ofthese forms and any

  supporting documentation by the United States Probation Office to the government.

                 B.    Civil or Administrative Actions not Barred: Effect on Other
                 Qoyernmental Aqencies :

         Nothing contained herein limits the rights and authority of the United States to take any

 civil, tax, imrnigation/deportation or administrative action against the defendant.

                 C.           Supervised Release: Pursuant to an y supervised release term, the Court

 will impose standard conditions upon the defendant        and may impose special conditions related to

 the crime defendant   committed. These conditions will be restrictions on the defendant to which

                                                      8
Case: 4:19-cr-00961-SRC Doc. #: 557 Filed: 07/14/21 Page: 9 of 12 PageID #: 1494




 the defendant     will   be required to adhere. Violation   ofthe conditions ofsupervised release

 resulting in revocation may require the defendant to serve a term of imprisonment equal to the

 length ofthe term ofsupervised release, but not greater than the term set forth in Title 18, United

 States Code, Section 3583(e)(3), without credit for the time served after release. The defendant

 understands that parole has been abolished.

                   D,        Mandatory Special Assessmqqt Pursuant to Title          18, United States


 Code, Section 3013, the Court is required to impose         a   mandatory special assessment of $ 100 per

 count for a total of $ 100, which the defendant agrees to pay at the time of sentencing. Money

 paid by the defendant toward any restitution or fine imposed by the Court shall be first used to

 pay any unpaid mandatory special assessment.

                   E.        Possibilit.r' of Dctention: 'Ihe defendant may be subject to immediate

 detention pursuant to the provisions of Title 18, United States Code, Section 3143.

                   F.        Fines, Restitution and Costs of Incarceration 4!d Supervision: The

 Court may impose a fine, costs of incarceration and costs of supervision. The defendant agrees

 that any fine imposed by the Court will be due and payable immediately.

                   G.        Forfciture: The   defendant knowin gly and voluntarily waives any right,

 title, and interest in all iterns seized by law enforcement officials during the course oftheir

 investigation, whether or not they are subject to forfeiture, and agrees not to contest the vesting

 oftitle of such   iterns in the United States. The defendant agrees that said items may be disposed

 ofby law enforcernent officials in      any manner.

        9, ACKNOWLEDGMENT AND WAIVER OF THE DEFENDAIIT'S RIGHTS




                                                       I
Case: 4:19-cr-00961-SRC Doc. #: 557 Filed: 07/14/21 Page: 10 of 12 PageID #: 1495




          In pleading guilty, the defendant acknowledges, fully understands and hereby waives his

  rights, including but not limited to: the right to plead rot guilty to the charges; the right to be

  tried by ajury in a public and speedy trial; the right to file pretrial motions, including motions to

  suppress or exclude evidence; the right at such   tial   to a presumption ofinnoc€nce; the right to

  require the government to prove the elements ofthe offenses charged against the defendant

  beyond a reasonable doubt; the right not to testiff; the right not to present any evidence; the right

  to be protected from compelled self-incrimination; the dght at trial to confront and cross-

  examine adverse witnesses; the right to testiry and present evidence and the right to compel the

  attendance ofwihresses. The defendant further understands that by this guilty plea, the

  defendant expressly waives all the rights set forth in this paragraph.

          The defendant fully understands that the defendant has the right to be represented by

  counsel, and ifnecessary, to have the Court appoint counsel at trial and at every other stage     of

  the proceeding. The defendant's counsel has explained these rights and the consequences         ofthe

  waiver of these rights. The delbndant fully understands that, as a result of the guilty plea, no trial

  will, in fact, occur and that the only action remaining to be taken in this   case is the imposition   of

  the sentence.

         The defendant is fully satisfied with the representation received from defense counsel.

  The defendant has reviewed the govemment's evidence and discussed the government's case and

  all possible defenses and defense witnesses with defense counsel. Defense counsel has

  completely and satisfactorily explored all areas which the defendant has requested relative to the

  govemment's case and any defenses.




                                                    l0
Case: 4:19-cr-00961-SRC Doc. #: 557 Filed: 07/14/21 Page: 11 of 12 PageID #: 1496




          The guilty plea could impact defendant's immigration status or result in depodation. In

  particular, ifany crime to which defendant is pleading guilty is an "aggravated felony" as defined

  by Title 8, United States Code, Section 1101(a)(43), rernoval or deportation is presumed

  mandatory. Defense counsel has advised the defendant of the possible immigration

  consequences, including deportation, resulting from the plea.

          10. VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA

  AGREEMENT:

          This document constitutes the entire agreement between the defendant and the

  government, and no other promises or inducements have been made, directly or indtectly, by

  any agant ofthe govemment, includilg any Departnent ofJustice attomey, conceming any plea

  to be entered in this case. ln addition, the defendant states that no p€rson has, directly or

  indirectly, threatened or coerced the defendant to do or re{iain Iiom doing anything in

  connection with any aspect ofthis case, including entering          a   plea ofguilty.

         The defendant acknowledges having voluntarily entered into both the plea agreement and

  the guilty plea. The defendant further acknowlodges that this guilty plea is made of the

  defendant's own free   will   and that the defendant is,   in fact, guilty.

          11. CONSEOIJENCES OF POST-PLEA]\{ISCONDUCT:

         After pleading guilty and before sentencing, ifdefendant commits any crime, other than

  minor traffic offenses, violates any conditions ofrelease that results in revocation, violates any

  term of this guilty-plea agreernent, intentionally provides misleading, incomplete or untruthful

  information to the U.S. Probation Office or fails to appear for sentencing, the United States, at its

  option, may be released from its obligations under this agreement. The Govemment may also, in


                                                      11
    Case: 4:19-cr-00961-SRC Doc. #: 557 Filed: 07/14/21 Page: 12 of 12 PageID #: 1497




      its discretion, proceed with this agreement and may advocate for any sentencing position

      supported by the facts, including but not limited to obstruction ofjustice and denial   of

      acceptance of responsibility.

             12, NO RIGIIT TO WITHDRA\ry G UILTY PLEA:

             Pursuant to Rule 11(c) and (d), Federal Rules of Criminal Procedure, the defendant

      understands that there   will   be no right to withdraw the plea entered under this agreement, except

      where the Court rejects those portions ofthe plea agreanent which deal widr charges the

      govemment agre€s to dismiss or not to bring.

                                                         ,'-Z-------
         b
             Date
                 r 222-'                                       PAUL J. D',AGROSA (#36966MO)
                                                               Assistant United States Attomey




I     L      Date
                          t\
                                                               TYRONE SIMS
                                                               Defendant


                 q
             D                 \                               MATTHEW RADE               (#s2288MO)
                                                               Attorney for D




                                                          12
